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                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ALABAMA
                     SOUTHERN DIVISION

BOBBY SINGLETON, et al.,             )
                                     )
                Plaintiffs,          )
                                           No.: 2:21-cv-01291-AMM
                                     )
WES ALLEN, et al.                    )
                                           Three-Judge Court
                                     )
                Defendants.          )
                                     )
EVAN MILLIGAN, et al.,               )
                                     )
                Plaintiffs,          )
                                           No.: 2:21-cv-01530-AMM
                                     )
WES ALLEN, et al.                    )
                                           Three-Judge Court
                                     )
                Defendants.          )
                                     )
MARCUS CASTER, et al.,               )
                                     )
                Plaintiffs,          )
                                           No.: 2:21-cv-01536-AMM
                                     )
WES ALLEN, et al.                    )
                                           Three-Judge Court
                                     )
                Defendants.          )
                                     )


 SINGLETON PLAINTIFFS’ OPPOSITION TO SECRETARY ALLEN’S
      EMERGENCY MOTION FOR STAY PENDING APPEAL
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                                      INTRODUCTION

       Secretary Allen has moved for a stay of this Court’s order enjoining his use

of Alabama’s 2023 plan in future congressional elections, for two reasons.1 First, he

“has fundamental disagreements with the Court over whether the 2023 Plan

remedies a likely § 2 violation and whether the 2023 Plan complies with § 2.”

Milligan, ECF No. 276 at 4. Second, he contends that because of the injunction and

the Court’s adoption of a new map, Alabamians will be “segregated into different

districts based on race.” Id. As to the first issue, the Singleton Plaintiffs believe that

the Court correctly decided that the 2023 Plan did not remedy the § 2 violation

because it does not contain two opportunity districts. As to the second issue, the

Secretary’s premise is just plain wrong: it is unnecessary to segregate voters by race

in order to remedy the § 2 violation. In fact, the Court cannot order a new

congressional plan that separates voters by race because, as the Singleton Plaintiffs’

plans demonstrate, a racially segregated plan would not survive strict scrutiny.

Therefore, the Secretary is wrong when he claims that “[t]he balance of harms

necessarily supports a stay so that millions of Alabamians are not soon districted

into a court-ordered racial gerrymander.” Id. at 5.


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  The Secretary filed his motion only in Milligan and Caster, but this Court ordered the Singleton
Plaintiffs to respond as well. ECF No. 193. Even if the Singleton Plaintiffs had not been ordered
to respond, a response would be necessary because the Court deferred ruling on the constitutional
claim in Singleton on the ground that “Alabama’s upcoming congressional elections will not occur
on the basis of the map that is allegedly unconstitutional.” ECF No. 191 at 194. If the injunction
is stayed, this would no longer be true and a decision on the constitutional claim would be required.

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                                    ARGUMENT

      To justify his request for a stay, the Secretary has invoked the specter of a

racial gerrymander. A claim of racial gerrymandering requires “a two-step analysis.”

Cooper v. Harris, 581 U.S. 285, 291 (2017). “First, the plaintiff must prove that

‘race was the predominant factor motivating the legislature’s decision to place a

significant number of voters within or without a particular district.’” Id. (quoting

Miller v. Johnson, 515 U.S. 900, 916 (1995)). “Second, if racial considerations

predominated over others, the design of the district must withstand strict scrutiny.”

Id. at 292. Thus, a racial gerrymander may be constitutional if it “is narrowly tailored

to further a compelling governmental interest,” Shaw v. Reno, 509 U.S. 630, 658

(1993), and the Supreme Court has assumed that complying with the Voting Rights

Act is a compelling interest. Cooper v. Harris, 581 U.S. at 292. So a racial

gerrymander that is narrowly tailored to ensure compliance with the Voting Rights

Act may be constitutional, but a racial gerrymander that is unnecessary to ensure

compliance is unconstitutional.

      The Singleton Plaintiffs have offered two plans that ensure compliance with

the Voting Rights Act by creating two opportunity districts that do not separate

voters by race. The Singleton Plan and the Smitherman Plan both have one district

composed primarily of Jefferson County and another composed primarily of the

Black Belt. ECF No. 147 (Singleton Plaintiff’s Objection and Motion for



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Preliminary Injunction) at 15. To determine whether proposed districts are

opportunity districts, courts have conducted “analyses [that] aggregate votes from

past elections to predict how proposed districts will perform in future elections.”

ECF No. 152 (Statement of Interest of the United States of America) at 12. The

Secretary has admitted that in both districts in both plans, the preferred candidates

of Black voters received more votes than their opponents in most of the contested

statewide elections since 2012. ECF No. 180-1 (Secretary Allen’s Responses and

Objections to the Singleton Plaintiffs’ Third Set of Requests for Admission) at 5–7.

Therefore, these districts are opportunity districts.

      The Singleton and Smitherman Plans do not segregate voters by race to create

these opportunity districts, and the Secretary has never claimed otherwise. These

plans make relatively minor splits to the minimum number of counties for the sole

purpose of equalizing population. The Singleton Plan adopts the State’s own county

splits from the 2021 Plan where possible, and splits small parts of counties

otherwise. Compare ECF No. 169-4 (2021 Plan) with ECF No. 169-6 (Singleton

Plan). The Smitherman Plan begins with a whole-county map that makes changes to

Alabama’s preexisting districts to the extent necessary to keep population deviation

low, then makes minimal adjustments to reduce population deviation to zero. ECF

No. 169-7 (Smitherman Plan). Neither plan separates voters by race. This Court has




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authorized the Special Master to consider the Singleton and Smitherman Plans as

potential remedies for the § 2 violation. ECF No. 192 at 9–10.

      In fact, these plans (particularly the Singleton plan) outperform the enacted

2023 Plan on the State’s own criteria. They generally do a better job of grouping

together the Black Belt counties, and they respect the boundaries of the state’s largest

county, which this Court identified as one of the “significant metropolitan areas” in

north Alabama. ECF No. 191 at 163. The districts are reasonably compact, and they

do not necessarily pair any incumbents. ECF No. 189 (Singleton Plaintiffs’ Proposed

Findings of Fact and Conclusions of Law) at 37–41 (discussing the Singleton Plan);

ECF No. 169-7 (Smitherman Plan). Thus, if the Singleton or Smitherman plan were

implemented, the Secretary would have no basis to claim that the “court-drawn plan

… sacrifices traditional redistricting principles in service of racial targets.” Milligan,

ECF No. 276 at 5. The court-drawn plan would not sacrifice traditional redistricting

principles, and it would not use racial targets. The Defendants could not allege that

they suffered any harm from the implementation of these plans.

      Given these facts, the Secretary need not worry about “millions of Alabamians

[being] districted into a court-ordered racial gerrymander.” Id. Because plans exist

that remedy the Voting Rights Act violation while respecting traditional redistricting

principles and drawing lines without respect to race, no racially gerrymandered plan,

such as one that splits a county along racial lines, could be narrowly tailored to



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remedy the Voting Rights Act violation. Therefore, a racially gerrymandered plan

cannot be constitutional, and ought not be imposed by this Court.2 Under the proper

analysis, the Secretary’s concern evaporates.

                                     CONCLUSION

       The entirety of the Secretary’s argument on the “balance of harms” is that a

racially gerrymandered plan should not be imposed on Alabama. But no such plan

can be imposed because separating voters by race is unnecessary to remedy the § 2

violation. There are plans in the record that create two opportunity districts without

resorting to segregation; as long as the Court implements such a plan, the Secretary’s

argument is irrelevant.

Dated: September 8, 2023                   Respectfully submitted,

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 There may be states in which racial gerrymandering is necessary to ensure compliance with the
Voting Rights Act (and therefore could be constitutional), but Alabama is not one of them.

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